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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

          v.                            Case No. 1:19-cr-0125 (ABJ)

GREGORY B. CRAIG,

               Defendant.




                            MOTION TO DISMISS COUNT ONE
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                                        INTRODUCTION

       Pursuant to Rule 12(b)(3)(A)(v) and (B)(v) of the Federal Rules of Criminal Procedure,

Defendant Gregory B. Craig moves for dismissal of Count One of the Indictment on multiple

grounds: (1) Count One is defective as a matter of law because it depends on a legal duty to

                                                                                     ; (2) Count One

is defective because it was returned by a grand jury that had been erroneously instructed about

that nonexistent legal duty; and (3) Count One is based in part on events outside of the applicable

period of limitations. The first and third grounds are straightforward legal flaws evident on the

face of the indictment. The second addresses prejudicial error in the instructions that the grand

jury received about the controlling law; that error is also clear on the face of the Indictment.

       In United States v. Safavian, 528 F.3d 957 (D.C. Cir 2008), the Court of Appeals left no

doubt that a prosecution under 18 U.S.C. §1001(a)(1) cannot be based upon omissions by a

defendant of facts that he had no specific obligation to disclose. This prosecution asks the Court

to ignore that holding and the principles upon which it is based. Count One asserts that Mr.

Craig violated § 1001(a)(1) by withholding information from the FARA Unit in response to

questions it posed to him regarding a report he had co-authored for the Ukraine Ministry of

Justice. Indictment, ECF No. 1, ¶¶ 47 65. Specific



                                                                 from The New York Times           Id.

¶ 50.c. Count One contains a list of ten allegedly material facts that the government faults Mr.

Craig for failing to mention during his communications with the FARA Unit

               Id. ¶ 63.

        It is not a crime to omit material facts in response to questions from a government

official absent a specific legal duty to disclose those facts. Safavian, 528 F.3d at 964. In an
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apparent nod to Safavian, the government posited such a duty on the face of the Indictment:

    U

material information and not to willfully ma

Indictment ¶ 52. That allegation cannot save this defective prosecution. It is simply wrong as a

matter of law.

        No provision of FARA, or any other applicable law, imposes such a duty upon an

individual voluntarily communicating with the FARA Unit about a potential obligation to

register. There is nothing in FARA that requires an individual who is voluntarily answering

questions from the FARA Unit to

Safavian, 528 F.3d at 965. Because the government has accused Mr. Craig of omitting material

facts that he was under no legal duty to disclose, Count One must be dismissed for failure to state

an offense. Fed. R. Crim. P. 12(b)(3)(B)(v). 1

        The same legal error infected the grand jury proceedings and requires dismissal of Count

One even if it were not deficient for failing to state an offense. Fed. R. Crim. P. 12(b)(3)(A)(v).

The government presented the erroneous guilt-by-omission theory to the grand jury through the

testimony of the FBI case agent, and there is grave doubt that the

was free from substantial influence caused by that error. See Bank of Nova Scotia v. United

States, 487 U.S. 250, 256 (1988).

        Finally, Count One relies in part on time-barred conduct. The charged offense is alleged




1
  The resolution of this motion does not depend in any way on a determination of willfulness,
although § 1001
                                                                                  Absent proof
that Mr. Craig was informed about the alleged duty of full disclosure that the government now


                                                 2
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¶ 48, but even accounting for tolling agreements, the relevant date for limitations purposes is

October 3, 2013. Because § 1001(a)(1) does not codify a continuing offense, conduct outside the

statute of limitations cannot be charged as part of Count One.

                           COUNT ONE OF THE INDICTMENT

       Before turning to the legal defects that require dismissal, we describe (A) the factual

                                                            offense that Count One charges, and

(C)

         A.      Factual Allegations Incorporated in Count One

       The evidence in this case would not establish any crime, and if a trial occurred, would

require a judgment of acquittal. In this Motion, we address the Indictment as written and

assume, as we must, that its allegations are true. See United States v. Hillie, 289 F. Supp. 3d

188, 193 (D.D.C. 2018).

       The Skadden Report and its Public Release

       In 2011, former Ukrainian Prime Minister Yulia Tymoshenko was prosecuted and

convicted for abusing her official powers while in office. Indictment ¶ 6. The prosecution was

                                                                                               Id.

In early 2012, the Ukrainian Ministry of Justice engaged the law firm Skadden, Arps, Slate,

                                     to conduct an inquiry and write a report on the question of

                                                                                      Id. ¶ 7. An



                 Id.



for Ukraine would require registering under FARA, especially since

[public relations]         Id. ¶ 14; see also id. ¶¶ 9, 15. On April 17, 2012, a Skadden associate
                                                  3
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relayed a message from Kenneth Gross, a Skadden partner with FARA expertise, in the

following email to Mr. Craig (the bolded portions of which are misleadingly omitted from the

Indictment):

       In [             s] view, our work writing a report evaluating the Ukraine
       proceedings would not trigger FARA obligations. However, if we were to
       perform public relations work aimed at the US, if our London lawyers were to do
       so, or if we were to subcontract a PR firm to do so, then we would be obligated to
       register under FARA. (If the Ukrainian Government were to hire the PR firm
       directly, then FARA would not come into play for us.)

Id. ¶ 15 (un-bolded portions only); Ex. 1 (complete email). 2     Shortly thereafter, Mr. Craig

encouraged Ukraine to hire a public relations firm directly, without Skadden being placed in the

middle of that contractual relationship, and Ukraine did so. Indictment ¶¶ 18, 20. When an

executive at the public relations firm asked whether his firm could subcontract through Skadden,




                          Id. ¶ 20.

       Skadden conducted its investigation and prepared its report through the spring and

summer of 2012, completing a draft in August. Id. ¶¶ 23, 29. The report assessed eight issues

raised by Ms. Tymoshenko during the course of her trial and appeal, and as to several of them,

the report identified significant                                        when viewed from the

perspective of Western standards of due process. See Ex. 2 at i, 1 5.3 For example, the report


2
  We have attached the full email as Exhibit 1, which the Court may consider because it has been
incorporated in the Indictment. Cf. Farah v. Esquire Magazine, 736 F.3d 528, 534 (D.C. Cir.
2013).
3
  Exhibit 2
summary, and introduction. Exhibit 2 is drawn from the complete copy of the report that is
                                                 https://efile.fara.gov/docs/6617-Informational-
Materials-20190118-2.pdf. This Court may take judicial notice of the contents of a document
that is publicly available on a government website. Cannon v. District of Columbia, 717 F.3d
                                              4
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representation by counsel would almost certainly be viewed as a violation of the right to

                         Id. at 4. The report al

fairness, . . .

                                             Id.

                                                                             guilt or innocence.

Id.

prosecution of a former head of government, unsuccessful presidential candidate, and leader of

the opposition merits close scrutiny in al           Id. The report made clear, however, that it



                                                                   Id. For several months after

Skadden sent a completed version of the report to Ukraine, Ukraine delayed releasing it to the

public. See Indictment ¶¶ 29, 33, 36, 43.

         During the course of the project, Mr. Craig learned that the Ukrainian government was

unhappy with the re           clusions, and he became concerned that someone working with the



                                                            appear more favorable to Ukraine.

Indictment ¶ 21. On July 30, 2012, around the time that Skadden completed a draft of the report,

Mr. Craig wrote to Paul Manafort, a

Yanukovych, and told him                                                        ject, to this law

firm, to your guy and to me would be to have someone on your side falsely leak a story that




200, 205 n.2 (D.C. Cir. 2013); see also United States v. Class, 38 F. Supp. 3d 19, 25 (D.D.C.
2014) (considering facts subject to judicial notice on a motion to dismiss an indictment).
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                                   Id.

        In September 2012 Mr. Craig received a draft public relations plan, compiled by



opportunity for the independent endorsement of the Government message that the trial of Yulia

Tymoshenko (YT) was not politically motivated              Id. ¶ 30 (emphasis added). This public

relations plan, and several related documents that Mr. Craig received during September 2012,

                                                                        about Ukraine distorting the

findings of the report to serve its own interests, was likely to occur. 4

        On December 11 and 12, 2012, the days immediately before the report was scheduled to

be released to the public, Mr. Craig provided a copy of the report to a New York Times reporter,

id. ¶ 39, and gave an on-the-record quotation to a second Times

question of whether this prosecution was politically motivated. Our assignment was to look at

                                                                            Id. ¶ 40. The Times article,

headlined Failings Found in Trial of Ukrainian Ex-Premier,

that important legal rights of the jailed former prime minister, Yulia V. Tymoshenko, were

violated during h           Id.5




4
                        rrespondence with his colleagues at Skadden, with Mr. Manafort, and with

                                                                                  That email
traffic explains why Mr. Craig thereafter was not included as a recipient of any of the later
iterations of the media plans. But these emails have been completely omitted from the
Indictment.
5
 See also David M. Herzenhorn & David E. Sanger, Failings Found in Trial of Ukrainian Ex-
Premier, THE NEW YORK TIMES (Dec. 12, 2012), https://www.nytimes.com/2012/12/13/world/
europe/failings-found-in-trial-of-ukrainian-ex-premier.html.
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         Also on December 12, 2012, Mr. Craig gave a telephone interview to a reporter with The

Daily Telegraph, a London newspaper. Id. ¶ 41. Following that interview, Mr. Craig was

quoted on the record in The Telegraph, and he corrected false statements attributed to the
                                                                6
                                                                    The Indictment alleges that Mr.

                       The New York Times and The Daily Telegraph

                                                            Id. ¶ 42; see also id. ¶ 63.

         Ukraine released the report to the public on December 13, 2012.            Soon thereafter,

Skadden communicated with reporters from The Los Angeles Times and The National Law

Journal, and provided copies of the report to them. Id. ¶ 44.

                   FARA Unit Communications

         On December 18, 2012, a few days                                                  to the public,

the FARA Unit sent a letter to Skadden indicating that it might be required to register as a



Ukraine. Indictment ¶ 51.7 The FARA Unit regularly issues letters seeking information from

individuals and entities who might be obligated to register as foreign agents under FARA. See
                       8
Ex. 11                     Such letters are not referenced anywhere in the statute, and as the Chief


6
 See Tom Parfitt,                                                   -commissioned report,
THE TELEGRAPH (Dec. 13, 2012), https://www.telegraph.co.uk/news/worldnews/europe/ukraine/
9741037/Trial-of-Ukraines-Tymoshenko-flawed-says-government-commissioned-report.html.
7
 The entire written correspondence between the FARA Unit and Skadden is enclosed as Exhibits
3 through 10. The letters are incorporated by reference in the Indictment, see ¶¶ 51, 53 58, 62,
64, but the Court need not consult them to decide this Motion.
8

register is found, the unit issues a letter of inquiry to the potential registrant advising of FARA
requirements, and requests additional information relevant to registration status. . . . The FARA
Unit stated it has issued approximately 130 letters of inquiry over the past ten years. Thirty-eight
of the recipients were found to have an obligation to register under FARA, and subsequently did
so. The remaining recipients were found to either have no obligation to register, or the FARA

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                       Ex. 12 at 2 (Form FD-302a, Interview of Heather Hunt (May 23, 2018));

see also



       On February 6, 2013, Mr. Craig

the questions in the letter from the FARA Unit, and                                            Id.

¶

in             response letter, Mr. Craig described the provision of the engagement agreement

that specified that Skadden would not perform any activities that would require it to register

under FARA. Id.

       The Skadden report was                                                       -party payor,

id. ¶ 12, and in           February 6, 2013 letter to the FARA Unit, Mr. Craig disclosed that a

                                                                  Id. ¶ 54. The contract between

Skadden and the Ukraine Ministry of Justice, which Skadden attached to the letter, did not

identify the third-party payor. Id. ¶ 13. When the FARA Unit subsequently asked Skadden to

identify that individual, id. ¶ 54, Mr. Craig respectfully declined to do so in light of Skadden

position that the firm was not required to register under FARA, an

strong preference for continued anonymity. Id. ¶¶ 25 26, 57.

       The FARA Unit wrote back to Mr. Craig on April 9, 2013. Id. ¶ 54. In addition to

reiterating its request for the identity of the third-party payor, the FARA Unit also requested




Justice, Office of the Inspector General, Audit of the National Secu
and Administration of the Foreign Agents Registration Act 13 (Sept. 2016), https://oig.justice.
gov/reports/2016/a1624.pdf (excerpt attached as Exhibit 11).

                                                8
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happen to the report when it was released to the Ukrain

anyone in your firm have any media interviews or comments to the media, public, or government

                                                          Id. ¶ 54.

       Mr. Craig responded to the FARA Unit again, on behalf of Skadden, in a letter dated June

3, 2013, answering each of the questions it had asked.      Id. ¶ 56. As to Skadden

distribution of the report, Mr. Craig wrote, inter alia                                       13,

2012 provided a co

private Ukrainian]; (3) [Reporter 1 of The New York Times

                                                            Id. ¶ 56 (first and second brackets in

Indictment). The December 12, 2012 article in The New York Times had itself

Report would                                                id., ¶ 40, thus making clear that its

reporters had spoken with Mr. Craig and reviewed a copy of the report before its public release.

                                                                      what would happen to the



firm viewed the distribution of the report as a matter that would be decided by the Ukraine

Government in its sole discretion. The law firm did not advi                                   Id.

¶

and made no comments to the media, the public or government officials about the report.

Gregory Craig provided brief clarifying statements about the report to [Reporter 1 of The New

York Times and to reporters at The Los Angeles Times and The National Law Journal




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had received     and was reporting   from the Ministry of Justice and from the Tymoshenko legal

                    Id.

        On September 5, 2013, the FARA Unit wrote to Mr. Craig stating that Skadden was

obligated to register as a foreign agent because of its communications with the media and

                                             Id. ¶

counsel by phone on September 19, 2013, Mr. Craig wrote him two messages             an email on

September 19 and a draft letter on September 20      disputing several conclusions in the FARA

                                                                                             Id.

¶¶ 59 60.

                    Id. At the time, Mr. Craig had not reviewed the email records of his media

contacts from December, 2012. See id. ¶                                          .

Skadden nor Mr. Craig ever sent any version of the email or draft letter to the FARA Unit. See

id. ¶ 60.



and Skadden arranged to meet with the Chief of the FARA Unit, and three of her colleagues, in

person. Id. The meeting occurred on October 9, 2013, and Mr. Craig attended along with

Lawrence Spiegel,                             , and Kenneth Gross, the partner with prior FARA

expertise who had given FARA advice at the beginning of the Ukraine project in April 2012. Id.

¶ 61; see also id. ¶ 15. At the end of the meeting, the FARA Unit Chief requested that Skadden

send a follow-up letter summarizing the main points from the meeting. We have since learned,

and grand jury testimony confirms, that the notes from the meeting prepared by a member of the

FARA Unit cannot be found, and that no other notes or memoranda exist recording what was

said at the meeting. Mr. Craig wrote the requested letter


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had no duty to register the following day, and the letter was sent to the FARA Unit on October

11, 2013. Id. ¶ 62. In the follow-up letter, Mr. Craig wrote that the law firm had provided copies



responding to inaccuracies in U.S. news reports      some of which were directly attributable to

Ukraine      [Skadden] did not consult with Ukraine, did not inform Ukraine, did not act under

                                                                                  Id. On January

16, 2014, the FARA Unit wrote to Skadden agreeing with its position that it did not need to

register under FARA as an agent of Ukraine. Id. ¶ 64.

       The Indictment does not allege that the FARA Unit asked       at any point, either orally or

in writing     whether Ukraine had engaged a public relations firm in connection with the release

of the report, and if so, whether Skadden had had any interaction with the public relations firm.

See id. ¶¶ 51, 54, 58, 61.

          B.       The Scheme Offense Charged in Count One

       Count One charges that Mr. Cr

conceal and cover up by a trick, scheme and device material facts in a matter within the

                                                            1001(a)(1). Id. ¶



contacts with The New York Times from other Skadden lawyers, id. ¶

and misleading descriptions of his contacts with The New York Times for distribution within

Skadden and to the FARA Unit, id. ¶ 50.b; and (3) omitted material facts regarding his acts in

                                                                   The New York Times] in his

communications with the FARA Unit id. ¶ 50.c (emphasis added). These specifications thus do

not focus upon allegations concerning material false statements made to the FARA Unit; instead,


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they make clear that the charged offense is based on material facts withheld from that

government agency. The Indictment does not charge a violation of subsection (a)(2) of § 1001,

which criminalizes making false statements to a government agency.

       The essence of the charged offense is in Paragraph 63   a bullet-point list of ten

          , allegedly, (1) Mr. Craig did not disclose,

during his communications with the FARA Unit, and (2) the omission of which was knowing

and willful.

                                                               Id. ¶ 52. The ten omitted facts all



strategy developed by that public relations firm, and actions that Mr. Craig undertook that are

                                                         Id. ¶ 63.

       Although the Indictment alleges that certain false and misleading statements were

included in some of               written communications with the FARA Unit, those statements

are encompassed within the charged concealment of the material facts listed in Paragraph 63.

See Safavian, 528 F.3d at 962

                                                                             al statements in Mr.




with the listed statements, one must read them in tandem with the omitted facts listed in

Paragraph 63. The government appears to fault the statement that Skadden provided copies of

                                                     -         see id. ¶ 56, because it omits the

allegedly material fact that Mr. Craig also provided a copy of the report to a New York Times

reporter on December 11, see id. ¶ 63. Similarly, the government appears to fault the statement


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                                                                                      see id. ¶ 56,

because it omits the allegedly

                                                    [to the PR firm] that Reporter 1 receive a copy

                                                         id. ¶ 63.

       The allegations in Paragraph 61 (regarding the in-person meeting on October 9, 2013)

and Paragraph 62 (regarding the follow-up letter dated October 10, 2013) follow the same

pattern.                                                                  he Indictment alleges is

misleading about

                                                          id. ¶ 61, his written statement that he

                                        onse to requests from the media, id. ¶ 62, and his written

                                                                                 , [and] did not act

                                                                                              some

of which were dire                                 Id.

           C.       The Grand Jury Proceedings9

       This Indictment was returned by a grand jury that heard testimony over six days, with

Special Agent Dan Kegl of the Federal Bureau of Investigation testifying as an overview

                witness on all six days, and three other witnesses testifying once each: FARA Unit

Chief Heather Hunt, Skadden general counsel Larry Spiegel, and Skadden partner Kenneth



9
  The material included in this portion of the Motion is based on grand jury transcripts that the
government made available to the defense in discovery                                   . Those
transcripts support a showing that the grand jury received erroneous instructions concerning the
elements of the charged offense under §1001(a)(1). See Part I.C, infra. We are redacting these
materials because, at the scheduling conference on April 15, 2019, the government only sought

transcripts are no longer subject to any requirement of confidentiality under Rule 6(e), see Fed.
R. Crim. P. 6(e)(2)(A), and we intend to seek leave from the Court to file an unredacted version
of this Motion on the public docket.
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Gross. On the first day of testimony, Special Agent Kegl presented the grand jurors with a list of

                            13 (Kegl Grand Jury Exhibit 1 at USA-8579 80). That list included

the entirety of 18 U.S.C. §                                                    1001(a)(1), and the

                           1001(a)(2). Id. at USA-8580.

       Inexplicably, Special Agent Kegl was asked to summarize the legal requirements of the

possible crimes Mr. Craig committed, and he testified that omission of material facts in

correspondence with the FARA Unit is a crime:

       Q     The Grand Jury will get . . . a detailed description of what the law and
       elements [are]. But just very generally, what are the potential violations that


       A        . . . [I]f you have a material omission in your correspondence or
       statements with the, the unit, the FARA unit, it, it could result in criminal
       liability. . . .

       Q        And with respect to the false statements under FARA . . . you said it
       relates to false statements and what else?

       A        So an omission. So if you willfully omit a material fact about the, the
       representation the FARA unit is asking you about. That can be criminal
       liability
       determination about whether you, you need to register or not.

Ex. 14 at 10 11 (Kegl Grand Jury Tr. Feb. 28, 2019) (emphasis added). These statements were

expressly for the purpose of giving the grand jurors an overview of the potential crimes at issue,

                                                                Id. at 10. In that context, Special

Agent Kegl told the grand jury in no uncertain terms that Mr. Craig had a legal duty not to omit

material information in his correspondence with the FARA Unit, and that such an omission can

be a crime. See id. at 10 11.

       With that colloquy as a backdrop, the portion of the grand jury presentation related to Mr.

                                                                               alleged omissions.

Special Agent Kegl testified about the letter of February 6, 2013 across two days, focusing
                                                14
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entirely on omissions. See Ex. 15 at 99 102 (Kegl Grand Jury Tr. Mar. 5, 2019); Ex. 16 at 23

26 (Kegl Grand Jury Tr. Mar. 14, 2019). His testimony about the letter of June 3, 2013, was

likewise focused almost entirely on omissions. An As

with respect to the [June 3] letter, what if any material misstatements or omissions did Craig

                               15 at 106. An extended colloquy then ensued, spanning six transcript

pages, in which the Assistant U.S. Attorney asked a series of questions designed to elicit facts

not mentioned in the letter. See id. at 106 12. For example:




                          10



                                                        The New York Times



                                   The Daily Telegraph




Id.; see also Ex. 16 at 30 39. As to the letter sent on October 11, 2013, an Assistant U.S.

                                                                   that could bear on that, did he not




10
     As to the alleged omission of Vin Weber, an alert and astute grand juror later corrected Special



Ukraine. Ex. 16 at 34 36.
                                                   15
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                                Ex. 16 at 56. Special Agent Kegl responded with a litany of facts

that were not referenced in the final letter. Id. at 56 58.

       The focus on omissions was especially acute in portions of the grand jury testimony

related to the element of materiality. An Assistant U.S. Attorney engaged in the following

colloquy with Special Agent Kegl:

       Q      [D]id you have occasion to discuss with the FARA Unit, things that were
       not provided? To include a lot of those omissions we just went over?

       A        Yes.

       Q        And do those bear on the issue of whether or not someone should register?

       A        Yes.

       Q     And would it be material to that decision, based on your discussion with
       the FARA unit?

       A      It could have been. It could have been information that they would have
       needed to make a determination.

       Q        And the only person who could provide that information would be whom?

       A        Greg Craig and Skadden.

Id. at 60 61.

       The emphasis on omissions had an obvious impact on the grand jurors. The following

exchange occurred shortly after the colloquy just described:

       A JUROR: I think the testimony was that the omitted facts, the FARA Unit said,
       could have been relative [sic] to their decision? A lot of things could be relevant,
       so if we could get more specific about how important they would be? Would they

       kind of detail, I think, would be helpful.

                                                 py to then consider maybe bringing
       someone from the FARA Unit. . . . I think certainly, they can answer for you
       potentially hypotheticals, as to why the information they requested is important.
       If indeed, these kinds of things have been happening, would that have been
       important to them and why. . . .

                                                  16
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        A JUROR: [T]hey could say in general and prior cases

        MR. CAMPOAMOR: Yes.

        A JUROR: -- these are the things that they consider.

        MR. CAMPOAMOR: Yes.

        A JUROR: And these are some of the things

        MR. CAMPOAMOR: Yes.

        A JUROR: -- that determine or make a     are a factor in their determination.

        MR. CAMPOAMOR: Correct, Correct.

Id. at 65 67.

        On the next day of testimony, the government did bring in someone from the FARA

Unit   FARA Unit Chief Heather Hunt         and omissions were again at the fore, including a

hypothetical question from a grand juror about whether certain omitted facts would have been

material to her decision. See Ex. 17 at 54 58 (Hunt Grand Jury Tr. Mar. 21, 2019). Another

omission-related j

failed to mention the fact that he spoke with Tom Parfitt, a journalist with The Daily Telegraph

in London:

                                                                                  ter that
        would                                                           they only need to
        disclose disseminations within the country?

        THE WITNESS: Right.

Id. at 32.

        Although the grand jury record does contain testimony from Special Agent Kegl about

alleged affirmative misstatements, it was not the focus, and it aroused skepticism among the

grand jurors. For example, Special Agent Kegl testified that at the meeting of October 9, 2013,

                                                         solely for the purpose of correcting
                                               17
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                       16 at 51 52 (emphasis added), an allegation that appears in Paragraph 61

of the Indictment. But the jurors were skeptical given that Special Agent Kegl did not personally



said to the FARA Unit [at] the . .              Id. at 52. Special Agent Kegl explained that he

had spoken with people from the FARA Unit and Skadden who attended the meeting, but the

grand jurors were not satisfied:

         A JUROR: Did any of the attendees of th[at] meeting[] take notes?

         THE WITNESS: They did not take notes in the form like, minutes. And they
         have not been able to find notes.

         A JUROR: Thanks.

         A JUROR: Can one of them testify here?

         MS. GASTON: . . . Yes, they will.

Id. at 52 53. Three attendees at the October 9, 2013, meeting did testify before the grand jury,

and none of them had specific recollections about what Mr. Craig said during a meeting that had

occurred more than five years earlier. See generally Ex. 17 (Hunt Grand Jury Tr. Mar. 21,

2019); Ex. 18 (Gross Grand Jury Tr. Feb. 28, 2019); Ex. 19 (Spiegel Grand Jury Tr. Feb. 28,

2019).

         The grand jurors were again skeptical after Special Agent Kegl testified about the

statement in the letter of October 11, 2013 (referenced in Paragraph 62 of the Indictment) that

                                                                                           16 at

54                                                                  true with respect to the New

                                                                The New York Times had been

questioned. Id.



                                               18
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                                           nment. Id. at 64.11 Notably, the government has

carefully worded Paragraph 62 of the Indictment so as to avoid alleging that any specific

statement in the letter of October 11, 2013 was false.

       On April 11, 2019, the grand jury returned the Indictment, charging a violation of the

 scheme provision of 18 U.S.C. § 1001, but no violation of the false statement provision.

Indictment, ECF No. 1. The Indictment contains the erroneous assertion that, in responding to

inquiries from the FARA Unit, Mr. Craig was subject to a legal duty to provide material

information and not to willfully omit material facts. Id. ¶ 52.

                                          ARGUMENT

 I.    Count One must be dismissed because Mr. Craig had no duty to disclose the facts he
       is alleged to have withheld.

       Count One unmistakably charges a withholding of material facts. It alleges that Mr.

Craig withheld facts to avoid being ordered to register. Id. ¶¶ 48 49. Paragraph 63 could not be

clearer on this point:

                                                    s inquiry     specifically, a list of ten omitted

facts. Id. ¶ 63; see supra at 12 13 (showing relationship of Paragraph 63 to Count One as a

whole). The legal question, therefore, is whether the                                material

violated §1001(a)(1).



11
   Although beyond the scope of this Motion, it is perhaps worth observing that Special Agent
Kegl implied that the New York Times reporter became reluctant to speak with the government
after counsel for Mr. Craig had informed counsel for the Times about this investigation. See Ex.
20 at 3 (Kegl Grand Jury Tr. Mar. 21, 2019). The agent failed to tell the grand jurors that
counsel for Mr. Craig sent the referenced communication to the Times
request: the government asked Mr. Craig to waive any obligations of confidentiality that might
be asserted by the reporters he spoke to, and the letter referenced by the agent was sent in
compliance with that government request. One hopes that the grand jury was not misled about
                                                              New York Times as a result of the
omissions in Special Ag            testimony and the failure of the prosecutors to correct it.
                                               19
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       Count One is fatally defective because omitting facts in a communication with the

government is not a crime unless there is a specific legal duty to disclose the omitted facts.

Safavian, 528 F.3d at 964. The government appears to acknowledge that it must establish such a

legal duty in order to state the offense described in Count One. It attempts to assert a disclosure



inquiries, CRAIG had a duty to provide material information and not to willfully make

                                                              52.

       T                                                                      evant information in

response to questions from the FARA Unit

wrong as a matter of law. Count One rests on an erroneous guilt-by-omission theory, and it must

therefore be dismissed. Fed. R. Crim. P. 12(b)(3)(B)(v).

       A. It is not a crime under § 1001(a)(1) to omit or conceal material facts absent a
          specific legal duty to disclose them.



                              United States v. Singhal, 876 F. Supp. 2d 82, 93 (D.D.C. 2012)

(citation omitted). The prohibition on concealment of material facts is much narrower, because it

is not generally a crime to omit relevant information in response to an inquiry from the

government. See Safavian, 528 F.3d at 964. A prosecution for an omission must rest on

duty to di                                   Id.; see also United States v. Blackley, 167 F.3d 543,

550 (D.C. Cir. 1999). Whether omitted information was subject to a legal duty to disclose is a

                                irst decide, as a matter of law.    United States v. Crop Growers

Corp., 954 F. Supp. 335, 345 (D.D.C. 1997); see also Singhal, 876 F. Supp. 2d at 93 96

(granting pretrial motion to dismiss indictment after finding no duty to disclose).



                                                20
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       Limiting omission prosecutions to situations in which there was a specific affirmative

disclosure duty                                       due process under the Fifth Amendment. See

Safavian, 528 F.3d at 964; Singhal, 876 F. Supp. 2d at 95. There can be no crime for failing to

disclose information absent a pre-

                                                 Singhal, 876 F. Supp. 2d at 95 (quoting United

States v. Kanchanalak, 192 F.3d 1037, 1046 (D.C. Cir. 1999)).

       For that reason, any prosecution for omissions under § 1001(a)(1) must be rooted in

 specific requirements for disclosure of specific                      Safavian, 528 F.3d at 964

(emphasis added); see also id. (explaining that the requirement of fair notice under the Fifth



that some legal authority   e.g., a statute, regulation, or government disclosure form    must have

                            disclosure of the omitted information. Crop Growers Corp., 954 F.

Supp at 347; see also id. at 345 (echoing                      view

implementing regulations were ambiguous as to whether they required disclosure, . . . imposition

                                                                  (citing United States v. Murphy,

809 F.2d 1427 (9th Cir. 1987)). 12




12
   In cryptically and erroneously asserting that Mr. Craig had a duty to disclose material
                                               52, the government has failed to identify any specific
provision that supposedly created the duty. In fact, no provision of FARA creates such a
duty.
affirmative disclosure provisions prescribe pieces of information that must be disclosed in
registration statements, supplements, and accompanying documents not in voluntary responses
to inquiries from the FARA Unit. See 22 U.S.C. § 612(a) (b).
provision is likewise limited to statutorily required documents, id. § 618(a)(2).



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        I                                 communication to the government, there is no disclosure

duty, and a prosecution under § 1001(a)(1) for omitting relevant information cannot stand.

Safavian, 528 F.3d at 964. That includes voluntary responses to questions from a government

official.    In Safavian, the government tried to advance the position that

speaking when seeking government action or in response to questioning, one must disclose all

                  Id. at 965. The court flatly rejected it:

        Attorneys commonly advise their clients to answer questions truthfully but not to
        volunteer information. Are we to suppose that once the client starts answering a
                                      , in a deposition or during an investigation, the
                                                                              1001(a)(1)?
        The government essentially asks us to hold that once an individual starts talking,
        he cannot stop. We do not think § 1001 demands that individuals choose
        between saying everything and saying nothing. No case stands for that
        proposition.

Id. (emphasis added). As in this case, the indictment in Safavian charged the defendant with

  falsifying, concealing and covering

violation of 18 U.S.C. §                                                         guilty verdict relied

on concealment of material facts that the defendant had no legal duty to disclose, the Court of

Appeals reversed the conviction. Id. at 959, 965.

        B. Mr. Craig had no legal duty to disclose the facts that the government faults him
           for omitting.

        The Indictment recounts a series of communications between Mr. Craig and the FARA

                                                                    requests from the FARA Unit.

Indictment ¶¶ 51, 53 (letter of February 6, 2013, responding

information); id. ¶¶ 54 56 (letter of June 3, 2013, responding to

information); id. ¶ 62 (letter of October 11, 2013,



voluntary; he had no duty to respond at all, let alone to volunteer all possibly relevant facts.
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       Paragraph 52 of the Indictment                           , when responding to the FARA

                                                                                            . . omit

                                                                              Indictment.

       First, Mr. Craig did not have a legal duty to disclose all relevant information by virtue of

the fact                                                               id.

assertion of such a duty flies in the face of both the binding precedent in Safavian, and the FARA

statute. See note 12 supra. Safavian held in no uncertain terms that an individual has no



government official. 528 F.3d at 965. That principle carries the day here.

       Most of the information that the government faults Mr. Craig for omitting        and that it

                                                                             was not responsive to

the specific questions that the FARA Unit actually asked. Compare Indictment ¶ 54 (FARA

Unit questions), with id. ¶ 63 (list of omitted facts). But no legal duty was violated even if Mr.

Craig omitted responsive information, Safavian, 528 F.3d at 965, and that is so even if he gave

answers that, by virtue of being non-

implication. Bronston v. United States, 409 U.S. 352, 353 (1973).13

       Second, there is no special legal duty to supply all relevant information in response to

government                                                         . Indictment ¶ 52. The FARA

Unit regularly issues letters seeking information from individuals and entities who may be

obligated to register. As set out above, and in the Motion to Dismiss Count Two, also filed

today, such letters are not referenced anywhere in the statute, and as the Chief of the FARA Unit


13
   Bronston was a perjury case, see 409 U.S. at 353, but the D.C. Circuit has stated that
Bronston                                                1001. See United States v. Milton,
8 F.3d 39, 45 & n.7 (D.C. Cir. 1993).
                                               23
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Ex. 12 (Form FD-302a, Interview of Heather Hunt at 2 (May 23, 2018)); see also Ex. 11, OIG

Audit at ii (no                                   ] authority to compel the production of information

fr

that would authorize the FARA Unit to issue civil investigative demands to possible foreign

agents so as to compel them to produce information, but those efforts have all failed. See OIG

Audit at 18 19.14

information in response to inquiries from the FARA Unit, Indictment ¶ 52, the Justice

Department would not need the additional statutory authority that has been denied by Congress.

       The letters at issue in this case exemplify t

requests for information. See id. ¶

information); id. ¶ 54                                            9

                  id. ¶ 62 (Mr. Craig sent final follow-                                         The

letters that the FARA Unit sent to Mr. Craig stand in stark contrast to the forms that the FARA

Unit has prescribed for disclosures that are actually                                See Ex. 21 at 1



mandatory, and failure to provide the information is subject to the penalty and enforcement

                           . See Motion to Dismiss Count Two, at pages 14 16.



legal duty to supply all relevant information, and certainly not one imposed by the statute itself.

14
  See also Olivia N. Marshall et al., BLOG: Updates on Congressional Action on FARA Reform,
CAPLIN & DRYSDALE, (Feb. 20, 2019), http://www.caplindrysdale.com/blog-updates-on-
congressional-action-on-fara-reform?utm_source=Mondaq&utm_medium=syndication&utm_
campaign=View-Original (listing several bills that would authorize the FARA Unit to issue civil


                                                   24
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But the theory of this prosecution depends on the existence of such a duty, a duty which as a

matter of law does not exist. The government cannot simply create a legal duty by asserting that

one existed. Count One does not charge a crime and must be dismissed.

       C. The grand jury was erroneously instructed on the guilt-by-omission theory, and
          there is grave doubt that its decision to indict was free from substantial influence
          caused by the error.

       Count One must be dismissed in its entirety for the additional reason that the grand jury

proceedings were infected by legal error. Fed. R. Crim. P. 12(b)(3)(A)(v). When a defendant

demonstrates that legal error occurred in the grand jury proceedings, dismissal of the indictment

is appropriate. . . if there is grave doubt that the decision to indict was free from the substantial

                                Bank of Nova Scotia v. United States, 487 U.S. 250, 256 (1988)

(citation omitted). Under this standard, an indictment must be dismissed where the grand jury

receives erroneous legal instructions that                                           its decision to

indict. See United States v. Stevens, 771 F. Supp. 2d 556, 566 68 (D. Md. 2011) (dismissing

indictment based on erroneous legal instructions to grand jury); United States v. Peralta, 763 F.

Supp. 14, 19 21 (S.D.N.Y. 1991) (same). That is the case here. 15

       It is plain from both the face of the Indictment and the transcripts of grand jury testimony

produced in discovery that the grand jury received erroneous legal instructions causing it to

indict Mr. Craig on the legally incorrect omission theory described above. 16 The grand jury was


15

prosecutori                  Stevens, 771 F. Supp. 2d at 568.
16
   We submit that there is no doubt that the grand jury was given this erroneous instruction of
law, but if the Court has any doubt, we encourage the Court to order the government to produce
the grand jury charging instructions. The erroneous assertion of a legal duty in Paragraph 52 of

case. Cf. Singhal,


                                                 25
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erroneously instructed that Mr. Craig was subject to a legal disclosure duty when responding to

inquiries from the FARA Unit. That erroneous instruction is reflected in paragraph 52 of the

Indictment itself, and there is thus no doubt that the erroneous advice to that effect was presented

to the grand jury.

       As we described above, see supra at 14, Special Agent Kegl testified both as to the

wrongly asserted legal duty of Mr. Craig not to omit material facts in communicating with the

FARA Unit, and as to the material omissions that the government alleges he made.

       Given the critical focus on omissions in the grand jury, th                           hat the

              decision to indict Mr. Craig was free from substantial influence caused by the

erroneous guilt-by-omission instructions.

                                                                 emphasized pieces of information

that Mr. Craig had not included in his letters. See supra at 14 16. This focus was especially

acute in discussions of materiality, an essential element of the offense. See supra at 16.

       The focus on omissions had a clear impact on the grand jurors, as was evident from their

questions. See supra at 16 17; see also Stevens, 771 F. Supp. 2d at 564, 568 (focusing on



by erroneous legal instruction). The grand jurors were also skeptical of

isolated testimony regard                                            see supra at 17 19, which is

further reason to doubt that the grand jury made its decision to indict Mr. Craig free from

substantial influence caused by the erroneous omission theory. Cf. Peralta, 763 F. Supp. at 19

21 (dismissing indictment upon discovering erroneous grand jury instructions about the elements

                                                                      presented

to support a theory of actual


                                                26
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                                            Finally, the grand jury did not indict Mr. Craig for

making false statements under § 1001(a)(2), even though that option was presented to the grand

jury as among the crimes being investigated. See Ex. 13



       Given the focus on omissions in the grand jury record, including with respect to the

element of materiality, it is overwhelmingly likely that the erroneous guilt-by-omission



is not dismissed on its face, then it should be dismissed for grand jury error under Rule

12(b)(3)(A)(v).

II.    In the alternative, Count One must be dismissed as to statements made or conduct
       occurring prior to October 3, 2013.

       Even if one were to accept for the sake of argument that the government has properly

alleged that Mr. Craig falsified, concealed, or covered up material facts by scheme in violation of

18 U.S.C. § 1001(a)(1), which it has not,17 Count One must be dismissed for the independent

reason that it would permit the jury to return a guilty verdict based on time-barred conduct.

       Under the applicable statute of limitations, 18 U.S.C. § 3282(a), any offense must be

charged within five years of bei                     Toussie v. United States, 397 U.S. 112, 114


17
  For the avoidance of doubt, the allegations in Count One do not state an offense under 18
U.S.C. § 1001(a)(1). Aside from resting on a non-existent disclosure duty, as discussed in Part I
above, Count One at most alleges a series of isolated false statements and omissions. Courts

                                     1001(a)(1). United States v. London, 550 F.2d 206, 214 (5th
Cir. 1977). See also United States v. Woodward, 469 U.S. 105, 108 & n.5 (1985) (explaining that

concealment (citation omitted)); Safavian
                                                         1001(a)(1).). For this reason as well, the

t                                                  is clear from the face of the Indictment that
the alleged offense was completed before October 3, 2013.

                                                27
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(1970)                                                                                      id. at

115, but courts are nearly unanimous that Toussie

apply to               alleged under § 1001(a)(1). See, e.g., United States v. Dunne, 324 F.3d

1158, 1164 66 (10th Cir. 2003)                                  1001(a)(1) allows the government

to group several acts of falsification or concealment together in a single count for purposes of

avoiding duplicity, see Bramblett v. United States, 231 F.2d 489, 491 (D.C. Cir. 1956), but the

government cannot do so in a way that would permit the petit jury to convict based on time-

barred conduct. Because the offense alleged in Count One was complete before October 3, 2013,

Count One must be dismissed to the extent that it relies on statements made or other alleged

conduct occurring before that date.18

         A.                                                                               fore
              October 3, 2013 is now time-barred.

                                s                                                        Toussie,

397 U.S. at 115 (quoting Pendergast v. United States, 317 U.S. 412, 418 (1943)). A crime is



occ           United States v. McGoff, 831 F.2d 1071, 1078 (D.C. Cir. 1987). There is a narrow

class of crimes for which the limitations period does not begin to run until later under the

                                         Toussie

                                        McGoff, 831 F.2d at 1078, which continues, even after the

elements are satisfied
18
   The grand jury returned the Indictment on April 11, 2019, see ECF No. 1, and absent any
period of tolling, the statute of limitations would bar prosecution for any offense committed
more than five years earlier i.e., prior to April 11, 2014. See 18 U.S.C. § 3282. The
government and Mr. Craig entered into a series of tolling agreements in this case that excluded a
total of 190 days from any calculation of time under the statute of limitations. The statute of
limitations therefore bars prosecution for alleged offenses committed prior to October 3, 2013.
The tolling agreements had no effect on defense arguments based on periods of limitation that
                                                See, e.g., Ex. 22 ¶ 1 (first tolling agreement).
                                                28
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       Toussie

                                                                        Toussie, 397 U.S. at 115.



criminal statute compels such a conclusion, or the nature of the crime involved is such that

Congress must assuredly have intended that it be trea                          Id.

       Almost every court to consider whether 18 U.S.C. § 1001(a)(1) falls within Toussie

                                                                See Dunne, 324 F.3d at 1164 66;

United States v. Treacy, Criminal Action No. 5:13cr00018, 2014 WL 12698499, at *2 6 (W.D.

Va. Jan. 28, 2014); United States v. Mubayyid, 567 F. Supp. 2d 223, 239 42 (D. Mass. 2008),

                                               , 658 F.3d 35 (1st Cir. 2011); United States v.

Gremillion-Stovall, 397 F. Supp. 2d 798, 800 02 (M.D. La. 2005).19 These cases correctly

explain that § 1001(a)(1) does not fall within either of the two narrowly circumscribed categories

of continuing offenses that Toussie

§

                  Dunne, 324 F.3d at 1164. Second, none of the three separate crimes defined in

§                                                                  Id. at 1165 (quoting Toussie,

397 U.S. at 120). While scheme offenses under § 1001(a)(1) can continue over time as a factual




19
   We are aware of one exception: United States v. Menendez, 137 F. Supp. 3d 688, 698 700
(D.N.J. 2015),       831 F.3d 155 (3d Cir. 2016). In that case, although the court did not
expressly determine that 18 U.S.C. § 1001(a)(1) contemplates a continuing offense, it allowed a
prosecution to proceed under § 1001(a)(1) and for otherwise time-barred conduct to be presented
as evidence because the charged scheme encompassed acts within the limitations period. Id. at
699 700. The Menendez court did not discuss Toussie or engage in the statutory analysis that
Toussie requires.
                                               29
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Mubayyid, 567 F. Supp. 2d at 241. Moreover, § 1001(a)(1) refers not only to falsification or



together by Congress, do not suggest a continuing offense. 20

       Because § 1001(a)(1) is not a continuing offense, the statute of limitations begins to run

                                                                           brought and proved.

Gremillion-Stovall, 397 F. Supp. 2d at 802; Treacy, 2014 WL 12698499, at *3 (same); see also

United States v. Grenier, 513 F.3d 632, 639 (6th Cir. 2008) (explaining that a scheme

                                                                                 United States v.

Heacock, 31 F.3d 249, 256 (5th Cir. 1994) (same).          When conduct that could have been

prosecuted before the limitations date is charged as par                              1001(a)(1),

courts dismiss the count to the extent that it relies on the pre-limitations conduct. See Grenier,

513 F.3d at 639 (dismissing in full); Dunne, 324 F.3d at 1164 (same); Treacy, 2014 WL

12698499, at *8 (same); Gremillion-Stovall, 397 F. Supp. 2d at 802 (dismissing in part); cf.

United States v. Mubayyid

defendant] committed the crime charged under § 1001(a)(1) at some point after [the limitations




20
  The statutory history of § 1001(a)(1) also precludes reading it to codify a continuing offense.
Congress amended § 1001 as a whole in 1996 specifically to override certain judicial limitations
with which it disagreed. See The False Statements Accountability Act of 1996, Pub. L. No. 104-
292, H.R. 3166 (Oct. 11, 1996). Congress was legislating against the backdrop of the Supreme
                    Toussie, and if it had intended to satisfy Toussie         -statement rule for
continuing offenses, it could have enacted language to that effect in § 1001. It did not do so. In
Toussie

imply a continuing offense except in limited circumstances, we conclude that any argument
based on congressional silence is stronger in favor of not construing this Act as incorporating a
                                             20.
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          In this case, all of the alleged conduct that precedes the limitations date of October 3,

2013, could have been charged as a scheme prior to that date, and therefore it is now time-barred.



                                                                48. But the conduct between June

3, 2013, and October 3, 2013, could just as easily have been charged as a completed scheme

offense                                                                                           id.

¶ 49), and the exact same alleged manner and means (withholding information from other

Skadden lawyers, id. ¶ 50.a, drafting false and misleading descriptions of media contacts for

distribution within Skadden and to the FARA Unit, id. ¶ 50.b, and omitting material facts in

communications with the FARA Unit, id. ¶ 50.c). Therefore, accepting for the sake of argument

that Count One states a scheme offense at all, see note 17 supra, every essential element of that

scheme could have been charged based on conduct that occurred prior to October 3, 2013.



the limitations date based only on conduct preceding that date, the statute of limitations began to

run, and all of the pre-limitations conduct is time-barred. Count One must be dismissed to the

extent that it relies on statements made or other conduct that occurred before October 3, 2013.

          B.                                      Bramblett did not permit a scheme to be
               prosecuted based on time-barred conduct, and to the extent it could be read to
               do so, Bramblett
               in Toussie.

          In Bramblett v. United States, 231 F.2d 489 (D.C. Cir. 1956), the Court of Appeals

affirmed a scheme conviction under 18 U.S.C. § 1001. The scheme involved a member of

Congress who falsely stated to the Disbursing Office of the House of Representatives that a clerk

was to be employed in his office, and then collected monthly payments issued to the phantom

clerk for seven months, converting the payments to his own use. Id. at 490 93. The indictment

                                                 31
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charged seven counts, one reflecting each of the seven months, with each count alleging that the



month. Id. at 491. Although the seven months in which the defendant collected payments all fell

within the limitations period, the form that he had previously submitted to the Disbursing Office

did not. Id. at 490

submitted the form, and that the charged offenses were therefore time-barred. Id. The court



                                                                             charged offenses could

not have been complete until the months at issue. Id. at 491; see also id.



       Although Bramblett                                                          a          id. at

491, it did not hold that schemes under § 1001(a)(1) are true continuing offenses in the sense

that they can be based on otherwise time-barred conduct that constituted a completed offense so

long as the defendant committed additional acts in furtherance of the alleged scheme within the

limitations period. See id. An essential premise of Bramblett

              not complete when the false form was submitted, but only later when the defendant

collected payment. See id. Indeed, each of the seven counts in Bramblett was confined only to

times within the limitations period, as is clear in the indictment in that case (which was appended

                                     See Ex. 23 at 2 3 (charging, for example, that the offense in

                                                           the date of the first monthly payment).

The indictment referenced the submission of the false form as a background allegation, but it did

not assert that the submission of the form was a basis on which the jury could return a guilty

verdict on any of the seven charged offenses. See id. at 2 6.


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       To the extent that Bramblett might be read to hold that a scheme alleged under

§ 1001(a)(1) is a continuing offense, it has been overruled by Toussie and overtaken by the

substantive amendments to 18 U.S.C. § 1001 that did not redefine §1001(a)(1) as a continuing

offense under the standard laid out in Toussie. See Treacy, 2014 WL 12698499, at *3 n.3

                             Toussie], Bramblett

whether a falsification by scheme under § 1001(a)(1) is a continuing offense); Mubayyid, 567 F.

                     Bramblett was decided lon                                          Toussie,

and is hardly persuasive authority as to the interpretation of §

Gremillion-Stovall                                    Bramblett was decided before Toussie and,



continuing offenses.).

       The court in Bramblett                                                              1001

contemplates multiple acts of falsification and concealment being charged in a single count, 231

F.2d at 491, a holding that doubtless remains good law. See United States v. Hubbell, 177 F.3d

11, 14 (D.C. Cir. 1999) (invoking Bramblett



count). But the fact that multiple acts can be charged together in a single count as a scheme

does not mean that the government can use § 1001(a)(1) to revive conduct that constituted a

completed offense before the end of the applicable limitations period. See United States v.

Sunia, 643 F. Supp. 2d 51, 72 (D.D.C. 2009) (granting motion to dismiss count to the extent that

it relied on time-

committed outside the five-year statute of limitations should be deemed to have occurred within




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the permitted time period so long as they are part of a larger pattern or scheme that straddles the



                                                                         ed conduct that occurred

before the expiration of the limitations period and that could have been prosecuted at an earlier

time. Because the statute of limitations began to run with respect to that conduct before October

3, 2013, the conduct is time-                                                              n Count

One. This Court should therefore dismiss Count One because it relies on alleged statements

made or conduct occurring before October 3, 2013. 21 Such a ruling would force the government

to rely solely on the oral statements made during the October 9, 2013 meeting (for which it no

longer has any notes, and has no witness who recalls with precision what Mr. Craig said) and the

written statements contained in the October 11, 2013 letter summarizing that meeting (that the

evidence will show were all true).




21
   The government may be able to introduce evidence of conduct that precedes the limitations
period, but such conduct cannot be charged as part of the offense itself. See Sunia, 643 F. Supp.
                                             . . by the defendants might be admissible into evidence
against the defendants, but . . . the alleged prior acts are not indictable offenses (or components
of a consolidated charge in
                                                   34
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                                          CONCLUSION

       Count One of the Indictment should be dismissed under Federal Rule of Criminal

Procedure 12(b)(3)(A)(v) and (B)(v). For all of the reasons stated herein, Count One is flawed

on multiple grounds, and it fails to state an offense as a matter of law.

Dated: May 10, 2019                                 Respectfully submitted,


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                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on May 10, 2019, the foregoing was served on counsel of

record via email.


                                                /s/ Ezra B. Marcus
                                               Ezra B. Marcus
